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              Notice of Right to File Objections to Report and Recommendation

        The parties are advised that they may file specific written objections to this Report and
Recommendation with the District Judge. Objections must specifically identify the portions of
the Report and Recommendation to which objections are made and the basis for such objections.
“[I]n the absence of a timely filed objection, a district court need not conduct a de novo review,
but instead must ‘only satisfy itself that there is no clear error on the face of the record in order to
accept the recommendation.’” Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310 (4th Cir.
2005) (quoting Fed. R. Civ. P. 72 advisory committee’s note).

        Specific written objections must be filed within fourteen (14) days of the date of service
of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); see Fed. R.
Civ. P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil Procedure 5 may be
accomplished by mailing objections to:

                                       Robin L. Blume, Clerk
                                     United States District Court
                                        Post Office Box 2317
                                   Florence, South Carolina 29503

        Failure to timely file specific written objections to this Report and Recommendation
will result in waiver of the right to appeal from a judgment of the District Court based
upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985);
Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v. Schronce, 727 F.2d 91 (4th Cir.
1984).
